
ORDER ON MANDATE
PER CURIAM.
Whereas, the judgment of this court was entered on June 24, 1969 (226 So.2d 19) reversing the judgment of the Circuit Court for Dade County, Florida, in the above styled cause; and
Whereas, on review of this court’s judgment by certiorari, the Supreme Court of Florida, by its opinion and judgment filed October 21, 1970 (240 So.2d 633) and mandate dated November 30, 1970, now lodged in this court, quashed this court’s judgment of reversal with directions to reinstate the judgment and sentence;
Now, therefore, It is Ordered that the mandate of this court heretofore issued in this cause on September 9, 1969 is withdrawn, the opinion and judgment of this court filed June 24, 1969 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court and the judgment and sentence of the circuit court appealed from herein is reinstated and affirmed. Costs allowed shall be taxed in the circuit court (Rule 3.16(b) F.A.R.), 32 F.S.A.
